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5

6

7

8                             UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
10
      JONATHAN SAPAN,                                         Case No.: '13CV2782 JAH WMC
11
                                                              COMPLAINT FOR DAMAGES,
12                    Plaintiff,                              INCLUDING PUNITIVE
                                                              DAMAGES, INTEREST AND
13            vs.                                             ATTORNEY’S FEES, AND
                                                              FOR INJUNCTIVE RELIEF
14
      AUTHORITY TAX SERVICES, LLC, a                          Violation(s) of Telephone
15
      California Limited Liability Company,                   Consumer
                                                              Protection Act of 1991
16    JOHNSON GIORDANO & ROTH, APC,                           Trespass to Chattel
17
      a California Professional Corporation,                  Unfair Business Practices
      WAYNE R. JOHNSON, and individual,
18    THOMAS M. GIORDANO-LASCARI,
19    and individual,
20
                      Defendants.
21

22

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           Complaint for, inter alia, Violation(s) of Telephone Consumer Protection Act of 1991
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1
     COMES NOW Plaintiff JONATHAN SAPAN (hereinafter referred to as

2    “Plaintiff”) who alleges as follows:
3
             1.      As set forth more fully below Plaintiff in this case complains that
4

5     Defendants transmitted seventy-two (72) or more telemarketing calls to his home
6
      phone number which was on the federal “Do Not Call” registry in violation of the
7

8     Telephone Consumer Protection Act of 1991 and the federal regulations
9
      promulgated thereunder and associated California laws.
10

11

12                             JURISDICTIONAL ALLEGATIONS
13
             2.      Plaintiff is, and at all times herein mentioned was, a resident of the
14

15    County of San Diego, State of California.
16
             3.      Defendant AUTHORITY TAX SERVICES, LLC is, and at all times
17

18
      herein mentioned was, a California Limited Liability Company doing business in

19    the County of San Diego, State of California.
20
             4.      Defendant JOHNSON GIORDANO & ROTH, APC is, and at all
21

22    times herein mentioned was, a California Professional Corporation doing business
23
      in the County of San Diego, State of California.
24

25           5.      Defendant WAYNE R. JOHNSON is, and at all times herein
26
      mentioned was, and individual and resident of the State of California doing
27
      business in the County of San Diego, State of California.
28



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           Complaint for, inter alia, Violation(s) of Telephone Consumer Protection Act of 1991
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1
             6.      Defendant WAYNE R. JOHNSON is, and at all times herein

2     mentioned was, a member of the State Bar of California, bar number 181937.
3
             7.      Defendant THOMAS M. GIORDANO-LASCARI is, and at all times
4

5     herein mentioned was, and individual and resident of the State of California doing
6
      business in the County of San Diego, State of California.
7

8            8.      Defendant THOMAS M. GIORDANO-LASCARI is, and at all times
9
      herein mentioned was, a member of the State Bar of California, bar number
10
      244485.
11

12           9.      This case is filed pursuant to the Telephone Consumer Protection Act
13
      of 1991, 47 U.S.C. §227 et. seq. The U.S. Supreme Court recently decided that
14

15    federals courts have federal question subject matter jurisdiction over such civil
16
      actions under 28 U.S.C. §§ 1331 and 1441. Mims v. Arrow Fin. Services, LLC, --
17

18
      U.S. --, 132 S.Ct. 740, 753 (2012). The state law claim herein arises out of a

19    common nucleus of operative facts and is subject to supplemental jurisdiction
20
      pursuant to 28 U.S.C. § 1367.
21

22           10.     Venue is appropriate in the Southern District because the
23
      telemarketing calls complained of herein were transmitted to Plaintiff’s home
24

25    phone in the County of San Diego, State of California.
26
             11.     At all times herein mentioned each defendant was the partner, agent
27
      and employee of each co-defendant herein and was at all times acting within the
28



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1
      scope of such partnership, agency and employment and each defendant ratified the

2     conduct of each co-defendant herein.
3

4

5                                       FACTUAL SUMMARY
6
             12.     On at least seventy-two separate occasions between May 16, 2013 and
7

8     August 27, 2013, JONATHAN SAPAN received calls to his home phone number,
9
      858-433-9808, from Defendants wherein they attempted to pitch their tax and
10
      financial services.
11

12           13.     Mr. Sapan’s residential phone number was registered on the National
13
      Do Not Call registry maintained by the Federal Trade Commission at the date and
14

15    time of each of the calls complained of herein.
16
             14.     Attached hereto as Exhibit A and incorporated herein as if set forth
17

18
      verbatim is a true and correct copy of a log Plaintiff kept detailing the calls he

19    knows about that Defendants made to him listing date and time of each call as
20
      well as the Caller ID information and some brief notes regarding what happened
21

22    during a few of the calls.
23
             15.     The Caller ID number listed for each of these calls was 858-947-5560.
24

25           16.     This Caller ID number is not publicly listed as belonging to any of
26
      Defendants.
27

28



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1
             17.     The Caller ID name for the calls complained of was listed as either

2     “DEL MAR CA” or “Name Unavailable”.
3
             18.     Regulations promulgated by the Federal Communications
4

5     Commission require telemarketers to transmit accurate Caller ID information. 47
6
      C.F.R. § 64.1200 (b), 47 C.F.R. § 64.1601 (e).
7

8            19.     Defendants’ telemarketing representatives identified the call as being
9
      from Authority Tax Services or gave their website address as
10
      “www.authoritytaxservices.com” during some of the calls as shown on Exhibit A.
11

12           20.     The domain name registrant of “www.authoritytaxservices.com” is
13
      Defendant AUTHORITY TAX SERVICES, LLC, and the administrative contact
14

15    name listed is Defendant THOMAS [] GIORDANO-LASCARI.
16
             21.     Defendant AUTHORITY TAX SERVICES, LLC on its web page
17

18
      tends to give the impression that it is a law firm or at least that it benefits from the

19    management of and involvement of licensed attorneys and since some of the
20
      services offered therein may only be provided by attorneys and Defendant
21

22    JOHNSON GIORDANO & ROTH, APC has the exact same principal owners and
23
      managers and appears to be highly interconnected, Plaintiff pleads on information
24

25    and belief that Defendant JOHNSON GIORDANO & ROTH, APC ordered,
26
      authorized, and had substantial involvement in causing the calls complained of
27
      herein to be transmitted to Mr. Sapan.
28



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1
             22.     Plaintiff pleads on information and belief that Defendant WAYNE R.

2     JOHNSON, who purports to be President of Defendant AUTHORITY TAX
3
      SERVICES, LLC, ordered, authorized, and had substantial involvement in
4

5     causing the calls complained of herein to be transmitted to Mr. Sapan.
6
             23.     Plaintiff pleads on information and belief that Defendant THOMAS
7

8     M. GIORDANO-LASCARI, who purports to be Chief Financial Officer of
9
      Defendant AUTHORITY TAX SERVICES, LLC and is listed as its primary
10
      website contact and who is a named partner in Defendant JOHNSON
11

12    GIORDANO & ROTH, APC, ordered, authorized, and had substantial
13
      involvement in causing the calls complained of herein to be transmitted to Mr.
14

15    Sapan.
16
             24.     Mr. Sapan never gave any of Defendants express permission to call
17

18
      his home phone number, and in fact as shown in Exhibit A, repeatedly demanded

19    they stop calling him.
20
             25.     Mr. Sapan has no business relationship with any of Defendants and
21

22    had never had any contact with them until they started transmitting the calls
23
      complained of herein to him.
24

25           26.     The calls complained of herein were not made for any emergency
26
      purpose; they were attempts to solicit business for Defendants.
27
     ///
28



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           Complaint for, inter alia, Violation(s) of Telephone Consumer Protection Act of 1991
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1

2                                 FIRST CAUSE OF ACTION
3                   [Violation of Telephone Consumer Protection Act of 1991]
4
             27.     Plaintiff realleges all paragraphs above and incorporates them herein
5

6
      by reference.

7            28.     Subdivision (c) (2) of Section 64.1200 of Title 47 of the Code of
8
      Federal Regulations makes it unlawful for any person to “initiate any telephone
9

10    solicitation” to “A residential telephone subscriber who has registered his or her
11
      telephone number on the national do-not-call registry of persons who do not wish
12

13
      to receive telephone solicitations”.
14
             29.     At all times relevant to this complaint, Plaintiff had registered his
15
      residential telephone number on the national do-not-call registry maintained by
16

17    the U.S. Government.
18
             30.     Defendants have called Plaintiff’s residential telephone line for
19

20    solicitation purposes at least seventy-two (72) times during the statutory period of
21
      the last 4 years, pursuant to 28 U.S.C. § 1658. These calls are the only calls
22

23
      known to Plaintiff at this time and Plaintiff states on information and belief,

24    without yet having the aid of full discovery, that it is quite likely that Defendants
25
      made many more violative calls to Plaintiff’s residential telephone line. These
26

27    calls were not made in error, nor did Defendants have express permission from
28



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           Complaint for, inter alia, Violation(s) of Telephone Consumer Protection Act of 1991
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1
      Plaintiff to call, nor did Defendants have a personal relationship with Plaintiff. 47

2     C.F.R. § 64.1200 (c) (i), (ii), & (iii).
3
             31.     Subdivision (c)(5) of section 227 of title 47 of the United States Code
4

5     permits a private right of action in state court for violations the national do-not-
6
      call registry rules promulgated thereunder. Plaintiff may obtain relief in the form
7

8     of injunctive relief, or Plaintiff may recover $500.00 for each violation, or both. If
9
      the court finds that defendants' violations were willful or knowing, it may, in its
10
      discretion, award up to three times that amount.
11

12

13
                                   SECOND CAUSE OF ACTION
14
                                       [Trespass to Chattel]
15
             32.     Plaintiff realleges all paragraphs above and incorporates them herein
16

17    by reference.
18
             33.     The conduct by defendants complained of herein, namely illegally
19

20    calling Plaintiff’s phone, constitutes an electronic trespass to chattel.
21
             34.     At no time did Plaintiff consent to this trespass.
22

23
             35.     As a proximate result of these intrusions, Plaintiff suffered damage in

24    an amount according to proof.
25
             36.     In making the illegal calls described above, defendants were guilty of
26

27    oppression and malice, in that defendants made said calls with the intent to vex,
28



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           Complaint for, inter alia, Violation(s) of Telephone Consumer Protection Act of 1991
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1
      injure, or annoy Plaintiff or with a willful and conscious disregard of Plaintiff's

2     rights. Plaintiff therefore seeks an award of punitive damages.
3

4

5                                  THIRD CAUSE OF ACTION
6
                                [Engaging in Unfair Business Practices]

7            37.     Plaintiff realleges all paragraphs above and incorporates them herein
8
      by reference.
9

10           38.     Because these telephone calls violate federal statutes, they are
11
      unlawful business practices within the meaning of section 17200 of the Business
12

13
      and Professions Code.
14
             39.     Section 17203 of the Business and Professions Code entitles Plaintiff
15
      to an injunction enjoining defendants from engaging in unfair or unlawful
16

17    business practices.
18

19

20           WHEREFORE Plaintiff prays for judgment against defendants, and each of
21
     them, as follows:
22

23
     On the FIRST CAUSE OF ACTION:

24           1.      For an award of $500.00 for each violation of 47 C.F.R.
25
                     §64.1200 (c) (5);
26

27           2.      For an award of $1,500.00 for each such violation found to have been
28
                     willful;

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1
     On the SECOND CAUSE OF ACTION:

2            3.      For compensatory damages according to proof;
3
             4.      For punitive damages;
4

5    On the THIRD CAUSE OF ACTION:
6
             5.      For preliminary and permanent injunctions, enjoining Defendants, and
7

8                    each of them, from engaging in unfair or unlawful business practices
9
                     pursuant to section 17203 of the Business and Professions Code;
10
     On ALL CAUSES OF ACTION:
11

12           6.      For attorney’s fees pursuant to California Code of Civil Procedure
13
                     § 1021.5.
14

15           7.      For costs of suit herein incurred; and
16
             8.      For such further relief as the Court deems proper.
17

18

19
     DATED: November 22, 2013                                PRATO & REICHMAN, APC

20

21
                                                             _/s/ Christopher J. Reichman ______
22
                                                             By: Christopher J. Reichman, Esq.
23                                                           Prato & Reichman, APC
24
                                                             Attorneys for Plaintiff
                                                             JONATHAN SAPAN
25

26

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28



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           Complaint for, inter alia, Violation(s) of Telephone Consumer Protection Act of 1991
